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THE HONORABLE JAMES L, ROBART

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

LOCALS 302 AND 612 OF THE
INTERNATIONAL UNION OF
OPERATING ENGINEERS »
CONSTRUCTION INDUSTRY HEALTH
AND SECURITY FUND , et ai.,

Plaintiffs,

V
509 EXCAVATING LLC, a Washington
limited liability company,
Defendant.

NO. C©719-01527-JLR

JUDGMENT

 

 

 

 

Summary of Judgment

 

Judgment Creditor: Operating Engineers Trust Funds
Judgment Debtor: 509 Excavating LLC

Amounts Payable to Plaintiff Fund .

Unpaid Contributions: $91,590.55

Liquidated Damages $11,014.25

Interest through October 25, 2019
Interest thereafter (on unpaid
contributions only)

$2,038.35

12% per annum

Amounts Payable to Plaintiff Local Union

Unpaid Union Dues:

Amounts Payable to All Plaintiffs
Attorneys Fees:
Costs:
Other Recovery Amounts:
Interest Rate on Costs:
Attorneys for Judgment

Creditor:

JUDGMENT ~ 619-01527-JLR
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$5,673.55

$543.00

$461.00
NONE
NONE

Reid, McCarthy, Ballew & Leahy, L.L.P.

Reid, McCarthy, Ballew & Leahy, LLP.

ATTORNEYS AT LAW

GAOS-029901540 1UOE Trusl309 Excovation LLG 37185-37186-37187 6-29-\Default Judgmant - JUDGMENT «log 100 WEST HARRISON STREET * NORTH TOWER, SUITE 300

SEATTLE, WASHINGTON 98119
TELEPHONE: (208) 285-0464 » PAX: (206) 285-8025

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THIS MATTER coming on for consideration upon Plaintiffs' motion for
judgment against the Defendant, Plaintiffs being represented by their attomey,
Russell J. Reid of Reid, McCarthy, Ballew & Leahy, L.L.P., Defendant not being
represented, and the Court having reviewed the records and file herein, including the
affidavit of Russell J, Reid and the exhibits thereto and the Declaration of Adam Keck
and the exhibits thereto in support of Plaintiffs’ motion, and being fully advised in the
premises, now, therefore, it is hereby / .

ORDERED, ADJUDGED AND DECREED that Plaintiffs be and hereby are
awarded judgment against Defendant in the amounts hereinafter fisted, which
amounts are due the Plaintiff Trusts by Defendant for its inclusive employment of
members of the bargaining unit represented by Local 302 with which the Defendant

has a valid collective bargaining agreement and which amounts are due by reason of

Its specific acceptance of the Declarations of Trust for the employment peried June

“2019 through August 2019: for contributions of $91,590.55, for Union dues of

$5,673.55, for liquidated damages of $11,014.25, for pre-judgment interest of =

$2,038.35, for attorneys’ fees of $543.00, and for costs of $461.00; all for a total of

| $111,320.70.

 

 

 

JUDGMENT ENTERED this_\** day of Nonemloea., 2019,
JAMES L. ROBART a
I ’ UNITED STATES DISTRICT JUDGE
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i
JUDGMENT — C19-01527-JULR Reid, McCarthy, Ballew & Leahy, LLe
Page 2 of 3 ATTORNEYS AT LAW

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Presented for Entry by:

 

Russell J, Reid, WSB442560 :
of Reid, McCarthy, Ballew & Leahy, L.L.P.

Attorneys for Plaintiffs
JUDGMENT - ©19-01527-JLR Reid, McCarthy, Ballew & Leahy, LLP
' Page 3 of 3 ATTORNEYS AT LAW

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